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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
In the Matter of the                             )
Federal Bureau of Prisons’ Execution             )
Protocol Cases,                                  )
                                                 )
LEAD CASE: Roane, et al. v. Barr                 )       Case No. 19-mc-145 (TSC)
                                                 )
THIS DOCUMENT RELATES TO:                        )
                                                 )
Roane v. Barr, 05-cv-2337                        )
                                                 )

                                              ORDER

       Defendants’ motion for a stay pending appeal, (ECF No. 399), is hereby DENIED, for the

reasons set forth in the court’s January 12, 2021 Memorandum Opinion, (ECF No. 394).

Defendants have not shown a likelihood of success on the merits of their appeal. See Nken v.

Holder, 556 U.S. 418, 434 (2009) (requiring the court to consider, inter alia, whether plaintiff

has made “a strong showing that he is likely to succeed on the merits” to warrant a stay). The

court set forth a detailed explanation as to why it believed Plaintiffs had a substantial possibility

of success on the merits and why it was unpersuaded by Defendants’ counterarguments. The

same analysis applies here. See id. (citing Winter v. Nat’l Res. Def. Council, 555 U.S. 7, 24

(2008)) (noting the “substantial overlap” between the factors for governing a stay and the factors

governing preliminary injunctions).

       Furthermore, the harm Defendants will suffer is the administrative inconvenience of

having to reschedule an execution. This is far from irreparable. And while the government has

an important interest in the timely enforcement of a death sentence, see In re Fed. Bureau of

Prisons’ Execution Protocol Cases, 955 F.3d 106, 126 (D.C. Cir. 2020) (Katsas, J., concurring),

that interest does not outweigh the public’s interest “in adhering to applicable legal

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requirements” in carrying out such a sentence, In re Fed. Bureau of Prisons’ Execution Protocol

Cases, No. 20-5329, slip op. at 34 (D.C. Cir. Nov. 18, 2020) (Pillard, J., dissenting).

Date: January 13, 2021
                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge




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